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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                          CASE NO: 22-14102-CIV-MIDDLEBROOKS

    DONALD J. TRUMP,

            Plaintiff,
    v.

    HILLARY R. CLINTON, et al.

          Defendants.
    ____________________________________/

               UNITED STATES OF AMERICA’S MOTION TO REDACT
           ADDRESSES OF FORMER FEDERAL BUREAU OF INVESTIGATION
                    EMPLOYEES FROM THE PUBLIC RECORD

         The United States of America—by and through the undersigned counsel and pursuant to

  Rule 5.2(e) of the Federal Rules of Civil Procedure—hereby moves for an order redacting, from

  the public record, the addresses of the former Federal Bureau of Investigation (FBI) employees

  named as defendants in this action; and, in support thereof, states the following:

         On March 24, 2022, Plaintiff filed a copy of the Complaint for Damages and Demand for

  Trail by Jury [D.E. 1] (Complaint) together with a copy of the unsigned and signed relevant

  summonses, [D.E. 1-24 – D.E. 1-28] and [D.E. 7] at p.24-28. The relevant copies of the

  summonses filed in the public record include the addresses of the following former FBI employees:

  James Comey, Andrew McCabe, Peter Strzok, Lisa Page, and Kevin Clinesmith. The addresses

  of the former FBI employees are not relevant to the current litigation. Moreover, the named

  former FBI employees include former law enforcement officers and disclosure of their personal

  information may lead to them being harassed, threatened, or otherwise having their safety

  jeopardized. In this regard, these former FBI employees have received death threats in the past.

  The addresses should be redacted.
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         Rule 5.2 expressly requires the exclusion of information enumerated in section (a) of that

  Rule. Fed.R.Civ.P. 5.2(a). In addition, section (e) allows that “the court may by order in a case

  [] require redaction of additional information” when “good cause” is shown. Fed.R.Civ.P. 5.2(e).

  Here, good cause is shown. The information sought to be redacted—the addresses of former FBI

  employees—has no relevance to the current litigation, and as explained above, the disclosure of

  that information may lead to harassment, threats, or endangerment of these individuals. Federal

  law recognizes the need to protect such information. See, e.g., 18 U.S.C. § 119 (providing

  protections for the home addresses of any officer or employee of the United States); 5 U.S.C. §

  552(b)(7)(C) (precluding from production under the Freedom of Information Act “information

  compiled for law enforcement purposes” that “could reasonably be expected to constitute an

  unwarranted invasion of personal privacy”); see also Fla. Stat. § 119.071(4)(d) (providing an

  exception to the inclusion in public disclosures the “home addresses . . . of active or former sworn

  law enforcement personnel”).

                                        Rule 7.1 Certification

         Pursuant to Local Rule 7.1(a)(3), the undersigned called Plaintiff’s counsel to inquire as to

  Plaintiff’s position as to the relief sought herein. Undersigned counsel was instructed to send an

  email with the request. Undersigned counsel sent the requested email, and Plaintiff’s counsel has

  not yet responded to the email inquiry. In light of the sensitive nature of the information needing

  to be redacted, the United States files this motion as early as possible in an abundance of caution.

         WHEREFORE, for the foregoing reasons, the United States of America moves for an order

  redacting the addresses of the former FBI employees included in [D.E. 1-24 – D.E. 1-28] and [D.E.

  7] at p.24-28. As a courtesy, the United States will file redacted version of [D.E. 1-24 – D.E. 1-

  28] and [D.E. 7] at p.24-28 on Monday that may be substituted for the presently filed offending

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  versions.

                                     Respectfully submitted,

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                                     UNITED STATES ATTORNEY

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